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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

MICHAEL V. MARCHIONE,

      Plaintiff,


v.                                                     Case No. 3:22cv632-LC-HTC


CENTAURIUM HEALTHCARE and
 DOCTOR I,

     Defendants.
__________________________/

                                     ORDER

      The magistrate judge issued a Report and Recommendation on January 24,

2022 (ECF No. 3).      The court furnished Plaintiff a copy of the Report and

Recommendation and afforded him an opportunity to file objections pursuant to

Title 28, United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined it

should be adopted.

      Accordingly, it is ORDERED:

      1.     The magistrate judge’s Report and Recommendation (ECF No. 3) is

adopted and incorporated by reference in this order.
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                                                                         Page 2 of 2


       2.    The clerk of court is directed to TRANSFER this case to the United

States District Court for the Middle District of Florida.

       3.    The clerk of court is directed to close this case file in the Northern

District.

       DONE AND ORDERED this 7th day March of 2022.


                                    s/L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




Case No. 3:22cv632-LC-HTC
